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                     A FFIDA VIT IN SUPPO RT O F C RIM INA L CO M PLA IN T

          1,Joshua Passm an,having been firstduly sworn, do hereby depose and state asfollows:

                         IN TRO DU CTIO N AN D AG ENT BACK GR O UN D

                 Iam a Task Force Officer with the Drug EnforcementAdministration (DEA),
   assigned to the M iam iField D ivision.A s such, lam an investigative orlaw enforcem entoffscer

   ofthe United Statesw ithin the m eaning ofTitle 18, Uni
                                                         tedStatesCode,Section251047),thatis,
   an officerofthe United Statesw ho isem pow ered by law to conductinvestigationsofand to m ake

  arrests foroffenses enum erated in Title l8, United StatesCode,Section 25l6(1).lhave been a

  sw orn law enforcem ent officer since October 2003. In Decem ber 2009,l w as assigned to the

  Brow ard Sheriff's O ffice,Strategic lnvestigations Division, w hich is partof the H igh lntensity

  Drug Trafficking Area (HIDTA)program.ln January 20l5,lwas assigned to the DEA Ihave      .



  received specialized training in the m eansand m ethodsused by narcoticstraffickersto im portand

  distribute narcotics,drug sm uggling m ethods, and the concealm ent and Iaundering of proceeds

  from illicit drug trafficking activities.    have personally conducted and participated in

  investigationsconcerning the possession, m anufacture,distribution,and im portation ofcontrolled

  substances,as well as m ethods used to finance drug transactions and launder drug proceeds.

  During the course of these investigations, Ihave participated in search w arrant executions and

  have debriefed or participated in debriefings ofdefendants, inform ants,and w itnesses who had

  personalknowledge regarding majornarcoticstrafficking organizations.The aforementioned
  investigations resulted in the arrest and prosecution of num erous individuals for narcotics

  violationsand otherviolations underTitles l8 and 2lofthe United StatesCode.

                Im ake this Affsdavitin supportof a crim inalcom plaintcharging Carlos Enrique

  Torres and Ruben G uevarra w ith violations of Title 21, United States Code, Section 846
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   (conspiracy to distribute a controlled substance),and Title 21, United States Code, Section

   84l(a)(1)and Title l8,United States Code,Section 2 (possession with intentto distribute a
  controlledsubstance).
                 ThisA ffidavitis based upon m y personalknow ledge ofthe eventssetforth herein,

  as w ellas inform ation provided to me by other Iaw enforcem ent personneland othersources of

   infonnation. Because this A ffsdavit is being subm itted for the lim ited purpose of securing a

  warrant, l have not included every fact known to m e or other law enforcem ent personnel

  concerning this investigation buthave setforth only those facts necessary to establish probable

  CaLIse.

                                       PRO BABLE CAU SE

                       around Decem ber 2020, law enforcem ent received inform ation from a

  confsdential source that Charles Schwartz w as involved in the distribution of m ulti-kilogram

  quantitiesofcocaine.

            6.   On oraboutM arch 14,202 l,law enforcem entconducted surveillance on Schwartz

   in furtherance oftheongoing investigation.Agentsobserved Schw artz m eeting w ith an individual

   Iater identified as Carlos Torres at Schwartz' residence, Iocated in Pom pano Beach, Florida.

   Subsequentto thisobservation,real-tim e Iocation data ofSchw artz'cellphone obtained pursuant

  to a state search warrantrevealed thathis cellphone w as in the area ofTorres'residence.Shortly

  aftermeetingwith Torres,Schwartzmadetelephonic contactwithaconfidentialsource(tûCS'')
  advisingthathe(Schwartz)hadakilogram ofcocaineto sellto theCS.TheCStold Schwartzthat
  he/she w ould be ready to conductthe dealthe follow ing m orning.

                 On or about M arch l5, 202l, at approxim ately 8:00 a.m ., Iaw enforcement

  conducted surveillance of Schwartz' residence.A t approxim ately 9:15 a.m .,the CS placed a

  controlled callto Schwartz,atw hich tim e Schw artz advised thathe w ould be on his way to the
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   CS'residence,located in Hollywood,Florida.Shortly thereafter,agentsobserved Schw artz leave

   his residence and drive towards the CS'residence.W hen Schwartz arrived atthe CS'residence,

   law enforcem entconverged on him and detained him .A narcoticsdetection canine subsequently

   gaveapositivealertto Schwartz'vehicle.A searchofthevehiclerevealedapproximately one(l)
   kilogram ofcocainc.During a post-M iranda intcrview ,Schw artz advised thatTorressupplied him

   w ith the kilogram of cocaine thatlaw enforcem ent seized from his vehicle w hen he w as atthe

   TargetPremisesduringthepreviousnight(Marchl4,202l).Schwartzestimatedhavingconducted
   betw een approxim ately five and ten deals forkilogram s ofcocaine atthe TargetPrem ises within

   acouple m onths.Schw artz stated that,during each deal,Torres'source ofsupply would also be at

   the TargetPrem isesto receive the m oney.Schwartz gave a detailed description ofTon-es'source

   ofsupply and identified the source ofsupply's vehicles as a black ChevroletTahoe and a black

   Dodge Charger.Furtherm ore,Schw artz advised thathe had already arranged a dealw ith Torres

   forlaterin the evening foran additionalkilogram ofcocaine.

          8.     Atapproxim ately 12:48 p.m .,Schw artz placed a controlled callto Torres.During

   thiscall,Schwartz asked Torresifthey were good forlaterin theeveningto which Torresanswered

   in theaffirm ative.Schwartz told Torresthathem ightneed an additionalkilogram and asked Torres

   ifhe could geta betterprice forpurchasing tw o.Torresadvised he w ould callhissourceofsupply

   and callhim back.

          9.     A tapproxim ately 12:54 p.m .,Torrescalled Schwartz back and stated thathissource

   ofsupply w ould m ostIikely notbe ableto bring the price down butwould be available after5:30

   p.m .Torres and Schwartz then discussed how m uch profit each of them would m ake off the

   kilogram quantities ofcocaine.
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          l0.    Atapproxim ately 5:40 p.m ., Torres called Schw artz to advise thathis source of

   supply would be atTorres'residence w ithin the hour.

                 Atapproxim ately 6:32 p.m .,Torres called Schw artz and advised thatthe source of

   supply wasapproximately tsfteen (15)m inutesaway from theTargetPrem ises.
                 A tapproxim ately 6:55 p.m .,agentsobserved a black ChevroletTahoe m atching the

   dcscription given by Schw artz arrive atthe TargetPrem ises. Law enforcementinitiated a traffic

   stop on the ChevroletTahoe and detained the driver and sole occupant of the vehicle, Ruben

  G uevarra.Law enforcementdeployed a narcoticsdetection canine,which gave a positive alel'
                                                                                          tfor

  the presence of narcotics in the Tahoe.Additionally,Schwartz positivcly identified Guevarra as

  the person he knew to be Torres'source ofsupply'.A search ofthe vehicle revealed two (2)
  kilogram sofcocaine concealed in a com partm entin the trunk ofthevehicle. The kilogram sfield-

  tested positive forthe presence ofcocaine.

                 Sim ultaneous to the stop on G uevarra,agents asked Torres to exit his residence.

  After Torres com plied, Iaw enforcem ent took him into custody. A search of Torres' person

  revealed thathe wasin possession ofoneofthe cellphonesto which Schw artzm ade thecontrolled

  calls.W henyouraffiantasked Torresifhehad anothertelephone,Torresadvised thatitwasinside

  ofTorres'rcsidence.Torrcs declined to give consentfora search ofhisresidence.N eitherTorres

  norGuevarra provided a statem ent.

                 The H onorable Patrick M .H unt,U nited States M agistrate Judge of the Southern

  DistrictofFlorida,authorizedthesearchofTorres'residence(2l-6l46-HUNT).Law enforcement
  executed the search warrantand seized Torres'othercellphone.




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